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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA



  UNITED STATES OF AMERICA

                     v.                               No. 22-cr-15 (APM)

  EDWARD VALLEJO,
                               Defendant.




                                   [PROPOSED] ORDER

       Upon consideration of Defendant Edward Vallejo’s motion to dismiss Count One, it is

hereby ordered that Count One is dismissed.



It is SO ORDERED.



______________________________                    __________________________________
Date                                              Hon. Amit P. Mehta
                                                  United States District Judge




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